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 2
     Sacramento, CA 95814
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 4
     Attorney for LEONA YEARGIN
 5

 6                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     THE UNITED STATES OF AMERICA,                 ) No. CR-S-13-103 MCE
 8
                     Plaintiff,                    )
 9
                                                   ) APPLICATION FOR TRANSPORTATION;
            v.                                     ) ORDER
10                                                 ) FOR TRANSPORTATION
                                                   )
11   LEONA YEARGIN,                                ) 18 USC §4285
12
                     Defendant.                    )
     ================================)
13
            Defendant LEONA YEARGIN, by and through her attorney, Michael D. Long, hereby
14

15
     requests the court to order the United States Marshal to pay for her transportation from her home in

16   Vallejo, California to the federal courthouse in Sacramento, California.
17          In case 13-103 MCE, defendant has made prior trips to Sacramento, but always with
18
     difficult funding issues. Ms. Yeargin is unable to afford to travel to Sacramento and back to her
19
     home in Vallejo for our guilty plea hearing scheduled for October 3, 2013. The closest Amtrak
20
     terminal to Ms. Yeargin is in Richmond. Ms. Yeargin requests round-trip transportation on Amtrak
21

22   from Richmond to Sacramento and back from Sacramento to Richmond.

23          Application is hereby made for an Order for Transportation for defendant LEONA
24
     YEARGIN to travel round-trip from the Amtrak station in Richmond, California, to Sacramento,
25
     California (and back to Richmond) for the purpose of meeting with undersigned counsel and
26
     attending the October 3, 2013, guilty plea hearing.
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28   ///



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 1   Dated: September 25, 2013                  Respectfully submitted,
 2
                                                /s/ Michael D. Long__________
 3                                              MICHAEL D. LONG
                                                Attorney for Ms. YEARGIN
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                 Case 2:13-cr-00103-KJM Document 94 Filed 09/27/13 Page 3 of 3


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 4
                             IN THE UNITED STATES DISTRICT COURT
 5
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 6
     THE UNITED STATES OF AMERICA,                  ) No. CR-S-13-103 MCE
 7                   Plaintiff,                     )
                                                    ) ORDER FOR TRANSPORTATION
 8
            v.                                      )
 9
                                                    )
     LEONA YEARGIN,                                 ) 18 USC §4285
10                   Defendant.                     )
     ================================)
11
            IT IS HEREBY ORDERED that the United States Marshal pay for round-trip Amtrak rail
12
     transportation for defendant LEONA YEARGIN from Richmond, California, to Sacramento,
13
     California for the purpose of attending the October 3, 2013, guilty plea hearing.
14
            Ms. Yeargin is indigent and financially unable pay for travel to Sacramento, California
15
     and return to Richmond, California. This order is authorized pursuant to 18 U.S.C. §4285.
16
            IT IS SO ORDERED.
17
     Dated: September 26, 2013
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